        Case 2:22-bk-10266-BB                    Doc 28-2 Filed 01/19/22 Entered 01/19/22 13:58:24                                       Desc
                                                   Proof of Service Page 1 of 3



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 915
Wilshire Blvd., Suite 1850, Los Angeles, CA 90017.

A true and correct copy of the foregoing document entitled: NOTICE OF APPOINTMENT OF SUBCHAPTER V
TRUSTEE be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
01/19/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   Eryk R Escobar eryk.r.escobar@usdoj.gov
    •   John-Patrick M Fritz jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
    •   Kristen N Pate ggpbk@ggp.com
    •   Ronald M Tucker rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




 01/19/2022                     Eryk R. Escobar                                                 /s/ Eryk R. Escobar
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                        Proof of Service Page 2 of 3

                                     UNITED STATES BANKRUPTCY COURT
                                      Central District of California Los Angeles

  In re:                                                                       Case No.: 22-10266
   Escada America, LLC,                                                         Chapter: 11
          Debtor(s).




                                           CERTIFICATE OF SERVICE

              I, Tinamarie Feil, state as follows:

              I am over the age of 18 and not a party to the above-captioned case. I certify that on January 19,
2022 as directed by Office of the United States Trustee, true and correct copy(s) of the following
document(s) were served on the party(s) listed on the attached exhibit(s) via the mode(s) of service
thereon indicated:


Notice of Appointment of Subchapter V Trustee
Verified Statement of Subchapter V Trustee


I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.
January 19, 2022



                                                              Tinamarie Feil
                                                              BMC Group, Inc.
                                                              Approved Bankruptcy Notice Provider
                                                              info@bmcgroup.com; 888.909.0100




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Exhibit A - Certificate of Service                      Proof of Service Page 3 of 3
Escada America, LLC 22-10266
 List ID       Name and Address of Served Party                                                                    Mode of Service
 1620          Escada America, LLC, 9720 Wilshire Blvd. 6th Floor, LOS ANGELES-CA, Beverly Hills, CA, 90212-0000   First Class




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